ILND 450 (Rev.Case:   1:17-cv-05720
              10/13) Judgment in a Civil ActionDocument   #: 212 Filed: 08/15/18 Page 1 of 2 PageID #:3715

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

The City of Chicago et al            ,

Plaintiff(s),
                                                                  Case No. 17 C 5720
v.                                                                Judge Harry D. Leinenweber

Jefferson Beauregard Sessions III             ,

Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which          includes       pre–judgment interest.
                                         does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


               other: Now, this 15th day of August, for the reasons set forth in the Court’s Memorandum
Opinion dated July 27, 2018 (Dkt. 198), it is hereby ORDERED that final judgment be entered in favor of
Chicago and against the Attorney General. Consistent with Federal Rule of Civil Procedure 65 and 5 U.S.C. §
706, the Court grants the City injunctive relief as set forth in the Courts August 15, 2018 order.

This action was (check one):

     tried by a jury with Judge Harry D. Leinenweber presiding, and the jury has rendered a verdict.
     tried by Judge Harry D. Leinenweber without a jury and the above decision was reached.
     decided by Judge Harry D. Leinenweber on a motion.



Date: 8/15/2018                                                Thomas G. Bruton, Clerk of Court
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                                                               Melanie A. Foster, Deputy Clerk
